
AFTER REMAND FROM THE ALABAMA SUPREME COURT
EDWARD N. SCRUGGS, Retired Circuit Judge.
The prior judgment of this court, 541 So.2d 523, has been reversed and remanded by the Alabama Supreme Court, 541 So.2d 524. On remand to this court, and in compliance with the supreme court’s opinion of November 18, 1988, this case is now reversed and remanded to the trial court for further proceedings which are consistent with the supreme court’s opinion.
The foregoing opinion was prepared by Retired Circuit Judge EDWARD N. SCRUGGS while serving on active duty status as a judge of this court under the provisions of section 12-18-10(e), Code 1975, and this opinion is hereby adopted as that of the court.
REVERSED AND REMANDED ON REMAND.
All the Judges concur.
